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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND
                       BALTIMORE DIVISION

RONALD L. BRADLEY, JR.                        *

                                              *
      Plaintiff,
                                              *
v.
                                              *   Civil Action No.: 11-2708

9727 PULASKI, INC.                            *
doing business as CATCHES
                                              *
and
                                              *
JOHN DOE 1 thru 10,
                                              *
      Defendants.
*     *   *   *           *     *     *       *   *     *     *     *      *

             COMPLAINT AND DEMAND FOR JURY TRIAL

      Ronald L. Bradley, Jr., (“Plaintiff”) alleges as follows:

                               INTRODUCTION

      1.      In 2003, Congress passed and the President signed, the Fair

and Accurate Credit Transactions Act (“FACTA”) to assist in the prevention

of identity theft and credit and debit card fraud. In the statement provided

by the President during the signing of the bill, the President declared that:

              This bill also confronts the problem of identity theft. A
              growing number of Americans are victimized by criminals
              who assume their identities and cause havoc in their
              financial affairs.    With this legislation, the Federal

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             Government is protecting our citizens by taking the
             offensive against identity theft.

     2.      A main provision of FACTA (codified as 15 U.S.C. §1681c(g) of

the Fair Credit Reporting Act) provides that:

             No person that accepts credit cards or debit cards for the
             transaction of business shall print more than the last five
             digits of the card number or the expiration date upon any
             receipt provided to the cardholder at the point of sale or
             transaction.

     3.      The law gave merchants who accept credit cards and debit cards

up to three years to comply with its requirements, requiring compliance

with its provisions no later than December 4, 2006.

     4.      On June 3, 2008, the Credit and Debit Card Receipt

Clarification Act of 2007, 15 U.S.C. 1681n(d), became effective. The

Clarification Act shielded from a finding of willful noncompliance with

FACTA any business that printed an expiration date on a cardholder receipt

between December 4, 2004, and the enactment of the Clarification Act,

June 3, 2008.

     5.      The Clarification Act did not eliminate the statutory

requirement that card expiration dates not be printed on the cardholder

receipts, but instead created a retroactive safe harbor based upon the belief

that the original act was confusing as to whether card expiration dates were

also required to be redacted. By maintaining the requirement to not print

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expiration dates, however, the Clarification Act made clear that liability

under FACTA can exist when, as in this case, a merchant continued to print

expiration dates on cardholder receipts after June 3, 2008.

      6.      Although Defendants (defined below) had until June 3, 2008,

to comply, Defendants have willfully violated this law and failed to protect

Plaintiff against identity theft and credit card and debit card fraud by

continuing to print the credit card expiration on receipts provided to debit

card and credit card cardholders transacting business with Defendants.

      7.      Plaintiff brings this action against Defendants based on

Defendants’ violation of 15 U.S.C. §§1681c(g).

      8.      Plaintiff seeks statutory damages, punitive damages, costs and

attorneys fees, all of which are expressly made available by 15 U.S.C.

§§1681n.

                        JURISDICTION AND VENUE

      9.      This Court has federal question jurisdiction pursuant to 28

U.S.C. §1331 and 15 U.S.C. §1681p.

      10.     Plaintiff’s claims asserted herein arose in this judicial district

and Defendants do business in this judicial district.

      11.     Venue in this judicial district is proper under 28 U.S.C. §1391(b)

and (c) in that this is the judicial district in which a substantial part of the


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acts and omissions giving rise to the claims occurred.

                                 PARTIES

     12.   Plaintiff, Ronald L. Bradley, Jr., is and at all times relevant

hereto was a resident of the State of Maryland, Baltimore County.

     13.   Defendant 9727 Pulaski, Inc., doing business as Catches is

organized under the laws of Maryland.

     14.   Plaintiff is unaware of the true names of defendants Does 1

through 10. Said defendants are sued by said fictitious names, and the

pleadings will be amended as necessary to obtain relief against defendants

Does 1 through 10 when the true names are ascertained, or as permitted by

law or by the Court.

     15.   Plaintiff is informed and believes and thereon alleges that at all

relevant times each defendant was the franchisor, franchisee, principal,

agent, partner, joint venturer, officer, director, controlling shareholder,

subsidiary, affiliate, parent corporation, successor in interest and/or

predecessor in interest of some or all of the other defendants, and was

engaged with some or all of the other defendants in a joint enterprise for

profit, and bore such other relationships to some or all of the other

defendants so as to be liable for their conduct with respect to the matters

alleged below. Plaintiff is informed and believes and thereon alleges that


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each defendant acted pursuant to and within the scope of the relationships

alleged above, that each defendant knew or should have known about, and

authorized, ratified, adopted, approved, controlled, aided and abetted the

conduct of all other Defendants.

              INDUSTRY KNOWLEDGE REGARDING THE
            TRUNCATION OF CREDIT CARD INFORMATION

      16.    In early 2003, the payment card industry and Congress

announced that they were working together to combat identity theft. A

critical part of this joint effort was the truncation of personal data from

credit and debit card receipts presented to consumers at the point of sale.

      17.    On March 6, 2003, Visa CEO Carl Pascarella held a joint press

conference with Senators Judd Gregg, Jon Corzine, Patrick Leahy and

Dianne Feinstein to announce Visa USA’s new account truncation program

to protect consumers from identity theft.      At the press conference, Mr.

Pascarella stated:

             Today, I am proud to announce an additional measure to
             combat identity theft and protect consumers. Our new
             receipt truncation policy will soon limit cardholder
             information on receipts to the last four digits of their
             accounts. . . . .

             The first phase of this new policy goes into effect July 1,
             2003 for all new terminals. I would like to add, however,
             that even before this policy goes into effect, many
             merchants have already voluntarily begun truncating
             receipts, thanks to the groundwork that we began

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             together several years ago.

              *   *   *   *

             Visa USA is pleased to be working with Senator Feinstein,
             and the other senators here today in the fight to protect
             consumers from identity theft. After all, we share the
             same goals.

      18.    On July 9, 2003, L. Richard Fischer, presented a written

statement to the United States House of Representatives Committee on

Financial Services on behalf of Visa USA, Inc., supporting the truncation

requirements of what ultimately became FACTA.           Therein, Mr. Fischer

stated:

             Although Visa generally believes that the details of
             preventing identity theft should be left to financial
             institutions that are best suited to address ever evolving
             fraud techniques, Title II could provide important
             benefits to consumers and financial institutions alike by
             establishing workable identity theft provisions and
             ensuring that these provisions benefit from national
             uniformity. For example, Section 203 of Title II would
             prohibit any merchant or other entity that accepts credit
             and debit cards from printing more than the last four
             digits of the card account number . . . .upon receipts
             provided to cardholders at the point of sale . . . .

      19.    Visa USA’s agreements with the American merchants which

accept Visa brand credit or debit cards are defined in part in a manual

entitled Rules for Visa Merchants, Card Acceptance and Chargeback

Management Guidelines (“Visa Merchant Rules”). The Visa Merchant Rules


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Manual includes a description of Visa’s truncation requirements.         For

example, the 2006 edition of the Manual states:

            Visa requires that all new electronic POS terminals
            provide account number truncation on transaction
            receipts. This means that only the last four digits of an
            account number should be printed on the customer’s copy
            of the receipt.

            After July 1, 2006, the expiration date should not appear
            at all. Existing POS terminals must comply with these
            requirements by July 1, 2006 . . . .

      20.   The truncation standards set forth in the Visa Merchant Rules,

which are part of the contract between Visa and the merchants which

accept its debit and/or credit cards, served as the basis for what ultimately

became the truncation requirements of FACTA.

      21.   The Office of Thrift Supervision, United States Department of

Treasury (“OTS”), is responsible for monitoring financial institution

compliance with FACTA. Toward this end, the OTS publishes an

Examination Handbook (“Handbook”) which assists OTS field personnel

when they perform an examination, or compliance audit, of a given

financial institution. The February 2006 Edition of the Handbook states, in

relevant part:

            Truncation of Credit and Debit Card Account
            Numbers

            Ensure that electronically generated receipts from ATM

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            and POS terminals or other machines do not contain
            more than the last five digits of the card number and do
            not contain the expiration dates.

      22.   FACTA’s requirements that merchants truncate all but the last

five digits of the card account number and expiration date was phased in

over a three year period. During the three year phase-in period, there was

extensive publicity regarding the law’s requirements.

      23.   Many restaurant and retail trade associations apprised their

merchant members that FACTA requires truncation of the entire expiration

date and all but the last five digits of the cardholder account number.

      24.   In May, 2007 the Federal Trade Commission issued a business

alert entitled “Slip Showing?     Federal Law Requires All Businesses to

Truncate Credit Card Information on Receipts.” That alert stated in

relevant part:

            According to the federal Fair and Accurate Credit
            Transaction Act (FACTA), the electronically printed credit
            and debit card receipts you give your customers must
            shorten – or truncate – the account information. You
            may include no more than the last five digits of the card
            number, and you must delete the card’s expiration date.

             DEFENDANTS’ KNOWLEDGE OF FACTA’S
                 TRUNCATION REQUIREMENTS

    25. Defendants had actual knowledge of FACTA’s truncation

requirements, specifically including FACTA’s requirements concerning the


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truncation of credit and debit card numbers and prohibition on printing of

expiration dates, and was provided with notice of these obligations by trade

associations, by merchant services providers, software manufacturers,

VISA, MasterCard, American Express and others.

                        FIRST CAUSE OF ACTION
                   For Violation of 15 U.S.C. §§1681c(g)

      26.    Plaintiff hereby incorporates by reference the allegations

contained in the above paragraphs of this Complaint as if fully set forth

herein.

      27.    Title 15 U.S.C. §1681c(g)(1) provides that:

             …no person that accepts credit cards or debit cards for the
             transaction of business shall print more than the last five
             digits of the card number or the expiration date upon any
             receipt provided to the cardholder at the point of sale of
             transaction.

      28.    With respect to machines that were first put into use after

January 1, 2005, 15 U.S.C. §1681c(g)(3)(B) required immediate compliance

with the provisions of 15 U.S.C. §1681c(g)(1).

      29.    With respect to machines that were in use before January 1,

2005, 15 U.S.C. §1681c(g)(3)(B) required compliance with the provisions of

15 U.S.C. §1681c(g)(1) on or after December 4, 2006.

      30.    On June 3, 2008, the Credit and Debit Card Receipt

Clarification Act of 2007, 15 U.S.C. 1681n(d), became effective. The

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Clarification Act shielded from a finding of willful noncompliance with

FACTA any business that printed an expiration date on a cardholder receipt

between December 4, 2004, and June 3, 2008.

      31.   Defendants transact business in the United States and accepts

credit cards and debit cards in the course of transacting business with

persons such as Plaintiff. In transacting such business, Defendants use cash

registers and other machines or devices that electronically print receipts for

credit card and debit card transactions.

      32.   On June 5, 2010, Defendants provided Plaintiff with an

electronically printed receipt on which Defendants printed the expiration

date of the Plaintiff’s credit card.

      33.   Defendants knew of, or should have known of, and were

informed about the law, including specifically FACTA’s requirements

concerning the truncation of credit and debit card numbers and prohibition

on printing of expiration dates.

      34.   Despite knowing and being repeatedly informed about FACTA

and the importance of not printing expiration dates on receipts, and despite

having had until June 3, 2008, to comply with FACTA’s requirements,

Defendants willfully violated and continue to violate FACTA’s requirements

by printing the expiration date of the credit card and debit card upon the


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receipts provided to it customers.

      35.   Most of Defendants’ business peers and competitors readily

brought their credit card and debit card receipt printing process into

compliance with FACTA by, for example, programming their card machines

and devices to prevent them from printing the card expiration date upon

the receipts provided to the cardholders. Defendants could have readily

done the same.

      36.   In contrast, Defendants willfully disregarded FACTA’s

requirements and continues to use cash registers or other machines or

devices that print receipts in violation of FACTA.

      37.   Defendants willfully violated FACTA in conscious disregard of

the rights of Plaintiff thereby exposing Plaintiff to an increased risk of

identity theft and credit and/or debit card fraud.

      38.   As a result of Defendants’ willful violations of FACTA,

Defendant is liable to Plaintiff in the statutory damage amount of “not less

than $100 and not more than $1000” for each violation pursuant to 15

U.S.C. §1681n(a)(1)(A).

      39.   As a result of Defendants’ willful violations of FACTA, Plaintiff

is entitled to recover costs of suit and reasonable attorneys’ fees pursuant to

15 U.S.C. §1681n(a)(3).


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     40.   As a result of Defendants’ willful violations of FACTA, Plaintiff

is entitled to recover punitive damages pursuant to 15 U.S.C. §1681n(a)(2).

                         PRAYER FOR RELIEF

    WHEREFORE, Plaintiff, on behalf of himself, prays for:

     A.    An award to Plaintiff of statutory damages pursuant to 15 U.S.C.

§1681n(a)(1)(A) for Defendants’ willful violations (up to but not exceeding

the fullest extent allowed under the Constitution of the United States);

     B.    An award to Plaintiff of punitive damages pursuant to 15 U.S.C.

§1681n(a)(2);

     C.    Payment of costs of suit herein incurred pursuant to 15 U.S.C.

§1681n(a)(3);

     D.    Payment of reasonable attorneys’ fees pursuant to 15 U.S.C.

§1681n(a)(3);

     E.    For other and further relief as the Court may deem proper.

Dated: September 21, 2011            Respectfully Submitted,


                                          /s/ E. David Hoskins
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